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EXHIBIT A
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BK Incentive Roster Roll-Up

ID Name Tithe Retention Carrington Greenwich Other Assets Category EMC Tier Plan
30104 Meola, Anthony T EVP, Production 5 36,750 43,250 75 37,506 [EMG Maree Ti KEIP
22606 Eckroth, Joseph & EVP, COO $ 36,750 43,250 15 37,500 [EMC Maemce Ti KEIP
ov77 Theologides, Stergios EVP, Corp Affairs/Gen Counsel 5 39,750 13,250 | 5 37,500 EMC Morice Ti KEIF
21979 Lambert, Robert James SVP, Leadership & Org Dylpmat $ 36,750 13,256 | $ 37,500 JEMC Morice TH KEIP

. ~ 3 27,563 9,938 }5 28,125 " ¥2 KEIP
3 9,188 3.313, S$ 9,375 ; 73 KEIP

5 10,629 3,632 75 10,846 T3 KEIRA

& 17,316 6.243 75 17,689 T3 KEIP

$ 14,244 5,134 |S 44,537 KEIP

3. -15 KEIRA

Ss -1S "KEIRA

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$ 21s 7 Te [KEIRA

$ ~/8 © 5 KEIRA

3° «45 “ : KEIRA

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& 7,619 48 21,563 C) ¥3 KEIP

g “TS 2 ee KEIRA

5 17,250 -fS 2 Q) KEIRA

=~ 6.620: 5 “pS -15 - TS KEIRA

s° 5,500 | S-- Sey -|5 “ ' TE KEIRA

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Ts 5,260 15. TS! -[§ - TS" KEIRA
78 US. 5,189 | So. |S: -|S- = TS: IKEIRG
s “Ts 3 “TS 3 KEIP

$ -13 $ -13 . KEEP

Soe 16,875 | Sos Se “La: * el KEIRG

Be 16,172.45: se 2,3 ° s KEIRA

Boe 75,6251 3: op Bee +{S" oe | REIRA

3. 15,625:|-3.° Se =| Ss: 7 KEIRA

S-. 43,648: ):3 43 KEIRA

S 13,125 | 5: $ ~ Te KEIRA

i 13,0067. S." 3. 7. TAs vo? [KEIRA

s ~ 12,500 S. $ : . Tae oo KEIRA

BK Incentive Roster Roll-Up

ID

Name

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Title Retention Carrington Greenwich Other Assets Category
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Page 2 of 5

EMC Tier Plan
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75 KEIRA
TS KEIRA
72 KEIRA
¥3 KEEP

BK Incentive Roster Roll-Up

Name

Retention

Carrington

Greenwich

Other Assets

Category

EMC

Tier Plan

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28,425

10,125

16,875

9,563

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Page 3 of §

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KEIRA

7 TKEIRA

BK Incentive Roster Roll-Up

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1D Name Title Retention Carrington Greenwich Other Assets Category EMC Tier Plan
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s S ~ ES = KEIRA
oS: 48 -}S KEIRA
3. § -~~S° KEIRA
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Bee 5 - | 3 KEIRA
Se 3 ~fSe Joe KEIR
3 8,237 ].5 -|3 -15 = T5 . TREIRE
$ 8,025. )3 Soe ES -15 Tee 1 Ths KEIRA
$ -{[5 23,153 | § 8,348 15 23,625 T2 KEIP
5 -45 22,504 | $ 6,149] S$ 23,063 T2 KEIP
$ 20,000 | $ 74,700 35 $.300 | 3 15,606 “2 KEIRA
3 14,000 | 5 76,296 7 S$ 3.7710) 70,500 é KEIRA
$ 10,500 | 5 5,788 15 2,087 15 5,906 3 KEIRA
$ 45,000 | 5 6,269 | 3 2,881 |S 6.438 3 KEIRA
‘ 3 13,000 | $ 7,166 1S 2,584 | $ 7,313 3 KEIRA
* § 73,000 | $ 7,166 | § 2.584 | S 7.313 a KEIR:
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s 7,000 | $ 3,859 | § 439175 3,938 m3 KEIRA
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§ 14,234 73 KEIP
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$ 394 TS KEIRA
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BK Incentive Roster Roll-Up

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ID Name Title Retention Carrington Greenwich Other Assets Category EMC Tler Plan
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